
95 N.Y.2d 955 (2000)
In the Matter of TREVOR L. BROOKS (Admitted as TREVOR LESLIE BROOKS), a Suspended Attorney, Appellant.
DEPARTMENTAL DISCIPLINARY COMMITTEE FOR THE FIRST JUDICIAL DEPARTMENT, Respondent.
Court of Appeals of the State of New York.
Submitted October 23, 2000.
Decided December 21, 2000.
On the Court's own motion, appeal dismissed, without costs, upon the ground that it was not timely taken (see, CPLR 5513 [a]). Motion for leave to appeal dismissed as untimely (see, CPLR 5513 [b]).
